                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK


MARVEL CHARACTERS, INC.,
                                               Case No.: 1:21-cv-7955-LAK
       Plaintiff and Counterclaim-Defendant,   and consolidated cases
                                               21-cv-7957-LAK and 21-cv-7959-LAK
       v.

LAWRENCE D. LIEBER,                            Hon. Lewis A. Kaplan

       Defendant and Counterclaimant.

                                               DECLARATION OF MARC
MARVEL CHARACTERS, INC.,                       TOBEROFF IN SUPPORT OF
                                               PATRICK S. DITKO’S LOCAL RULE
       Plaintiff and Counterclaim-Defendant,   56.1 STATEMENT OF MATERIAL
                                               FACTS IN SUPPORT OF HIS MOTION
       v.                                      FOR SUMMARY JUDGMENT

KEITH A. DETTWILER, in his capacity as
Executor of the Estate of Donald L. Heck,

       Defendant and Counterclaimant.


MARVEL CHARACTERS, INC.,

       Plaintiff and Counterclaim-Defendant,

       v.

PATRICK S. DITKO, in his capacity as
Administrator of the Estate of Stephen J.
Ditko,

       Defendant and Counterclaimant.
I, Marc Toberoff, declare as follows:

        1.     I am counsel for Defendant Patrick S. Ditko (“Defendant”) and a member of the Bar

of this Court. I submit this declaration based on my personal knowledge and review of the

documents referenced herein. If called and sworn as a witness, I could and would testify

competently thereto. In support of Defendant’s Local Rule 56.1 Statement, I state as follows:

        2.     Attached hereto as Exhibit 1 is a true and correct copy of the Expert Report of Mark

Evanier (Supplemented).

        3.     Attached hereto as Exhibit 2 is a true and correct copy of excerpts (pages 1-3, 71-

74, 76, 79-80, 100-105) from the Transcript of Lawrence Lieber’s January 7, 2011 Deposition.

        4.     Attached hereto as Exhibit 3 is a coversheet in place of the Transcript of John V.

Romita’s October 21, 2010 Deposition, which was designated “Confidential” by Marvel Characters,

Inc. (“Marvel”), and is being filed under seal.

        5.     Attached hereto as Exhibit 4 is a coversheet in place of the Transcript of Stan Lee’s

May 13, 2010 Deposition, which was designated “Confidential” by Marvel and is being filed under

seal.

        6.     Attached hereto as Exhibit 5 is a coversheet in place of the Transcript of Stan Lee’s

December 8, 2010 Deposition, which was designated “Confidential” by Marvel and is being filed

under seal.

        7.     Attached hereto as Exhibit 6 is a true and correct copy of excerpts (pages 1-2, 30-

31, 36, 82, 200, 202) from the Transcript of Roy Thomas’s October 26, 2010 Deposition.

        8.     Attached hereto as Exhibit 7 is a true and correct copy of excerpts (pages 207-209,

223-225, 262-264, 273-274, 277) from the Transcript of Roy Thomas’s October 27, 2010

Deposition.

        9.     Attached hereto as Exhibit 8 is a true and correct copy of the Declaration of Joe
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Sinnott in Support of Defendants’ Motion for Summary Judgment and Defendants’ Opposition to

Plaintiffs’ Motion for Summary Judgment dated March 21, 2011.

       10.     Attached hereto as Exhibit 9 is a true and correct copy of the Declaration of James

F. Steranko in Support of Defendants’ Motion for Summary Judgment and Defendants’ Opposition

to Plaintiffs’ Motion for Summary Judgment dated March 24, 2011.

       11.     Attached hereto as Exhibit 10 is a true and correct copy of the Declaration of

Richard Ayers in Support of Defendants’ Motion for Summary Judgment and Defendants’

Opposition to Plaintiffs’ Motion for Summary Judgment dated March 25, 2011.

       12.     Attached hereto as Exhibit 11 is a coversheet in place of the Confidential

Declaration of Gene Colan in Support of Defendants’ Motion for Summary Judgment and

Defendants’ Opposition to Plaintiffs’ Motion for Summary Judgment dated March 22, 2011, which

was designated “Confidential” and is being filed under seal.

       13.     Attached hereto as Exhibit 12 is a true and correct copy of the Declaration of Mark

Evanier dated March 25, 2011.

       14.     Attached hereto as Exhibit 13 is a true and correct copy of the Declaration of Neal

Adams in Support of Defendants’ Motion for Summary Judgment and Defendants’ Opposition to

Plaintiffs’ Motion for Summary Judgment dated March 24, 2010.

       15.     Attached hereto as Exhibit 14 is a true and correct copy of the Rebuttal Expert

Report of Mark Evanier.

       16.     Attached hereto as Exhibit 15 is a coversheet in place of the Expert Report of Paul

Levitz dated January 27, 2023, which was designated “Confidential” by Marvel and is being filed

under seal.

       17.     Attached hereto as Exhibit 16 is a true and correct copy of excerpts (pages 1-2, 117-

121) from the Transcript of Nanci Solo’s October 28, 2022 Deposition.
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       18.     Attached hereto as Exhibit 17 is a true and correct copy of excerpts (pages 1-3, 17,

24-25, 27, 29-32, 34-35, 39-40, 51-52, 59-60, 83-90, 92, 110, 138-139, 142-143, 244, 246, 272-276,

278-279, 289-298, 301-303, 307-312, 317-322) from the Transcript of Roy William Thomas Jr.’s

January 20, 2023 Deposition.

       19.     Attached hereto as Exhibit 18 is a true and correct copy of correspondence sent by

Roy Thomas dated October 28, 1965.

       20.     Attached hereto as Exhibit 19 is a true and correct copy of excerpts (cover and

pages 1, 6-8) of a Roy Thomas interview published in Alter Ego No. 50 dated July 2005.

       21.     Attached hereto as Exhibit 20 is a true and correct copy of excerpts (pages 1-3, 50-

53, 57-59, 73-74, 154-156, 160-162, 196) from the Transcript of Mark Evanier’s March 3, 2023

Deposition.

       22.     Attached hereto as Exhibit 21 is a true and correct copy of excerpts (pages 1-6, 29-

30, 41, 61-64, 91-93, 97) from the Transcript of James F. Steranko’s February 10, 2023 Deposition.

       23.     Attached hereto as Exhibit 22 is a true and correct copy of excerpts (pages 1-3, 155-

156, 252-257, 259, 266-271, 286-288, 303) from the Transcript of Lawrence D. Lieber’s October

25, 2022 Deposition.

       24.     Attached hereto as Exhibit 23 is a true and correct copy of excerpts (pages 1-4, 160,

166-168) from the Transcript of Mark S. Ditko’s February 8, 2023 Deposition.

       25.     Attached hereto as Exhibit 24 is a true and correct copy of excerpts (pages 1-3, 14,

37, 49-52, 79, 89, 97, 104-107, 112-113, 123-124, 138-140) from the Transcript of Paul Levitz’s

March 3, 2023 Deposition.

       26.     Attached hereto as Exhibit 25 is a true and correct copy of correspondence sent by

Steve Ditko.

       27.     Attached hereto as Exhibit 26 is a true and correct copy of excerpts (cover and
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introductory pages and pages 82-83) from the Doctor Strange Master of The Mystic Arts by Stan

Lee.

       28.     Attached hereto as Exhibit 27 is a true and correct copy of correspondence from

Steve Ditko to Mark Ditko.

       29.     Attached hereto as Exhibit 28 is a true and correct copy of correspondence sent by

Stan Lee dated August 18, 1999.

       30.     Attached hereto as Exhibit 29 is a true and correct copy of a May 1990 essay by

Steve Ditko.

       31.     Attached hereto as Exhibit 30 is a true and correct copy of correspondence from

Stan Lee to Jerry Bails dated January 9, 1963.

       32.     Attached hereto as Exhibit 31 is a true and correct copy of Undervalued Spotlight

#386 by Walter Durajlija dated March 20, 2018 accessed at https://www.comicbookdaily.com/

collecting-community/undervalued/undervalued-spotlight-386/.

       33.     Attached hereto as Exhibit 32 is a true and correct copy of correspondence from Jim

Shooter to Randy Schueller dated August 3, 1982.

       34.     Attached hereto as Exhibit 33 is a true and correct copy of correspondence from

Steve Ditko to Patrick S. Ditko dated August 6, 1946.

       35.     Attached hereto as Exhibit 34 is a true and correct copy of Comic Book Urban

Legends Revealed Extra: Randy Schueller’s Brush With Comic History by Brian Cronin dated May

16, 2007 accessed at https://www.cbr.com/comic-book-urban-legends-revealed-extra-randy-

schuellers-brush-with-comic-history/.

       36.     Attached hereto as Exhibit 35 is a true and correct copy of excerpts (pages DITKO-

0189-0194, DITKO-0198-0200, DITKO-0207-0210, DITKO-0215-0218) of A Mini-History by

Steve Ditko.
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       37.     Attached hereto as Exhibit 36 is a true and correct copy of excerpts (pages 1-2, 7)

from Marvel Characters, Inc.’s Responses and Objections to Defendant Ditko’s First Set of

Requests for Admission.

       38.     Attached hereto as Exhibit 37 is a true and correct copy of Art Releases signed by

Marv Wolfman dated 1979 and 1980, respectively.

       39.     Attached hereto as Exhibit 38 is a coversheet in place of an agreement signed by

Randy Schueller dated August 9, 1982, which was designated “Confidential” by Marvel and is

being filed under seal.

       40.     Attached hereto as Exhibit 39 is a coversheet in place of an agreement purportedly

signed by Steve Ditko dated January 26, 1979.

       41.     Attached hereto as Exhibit 40 is a true and correct copy of a Certificate of

Registration of a Claim to Copyright for Amazing Fantasy Vol. 1, No. 15 dated June 12, 1962 and a

Certificate of Renewal Registration for Amazing Fantasy Vol. 1, No. 15 dated November 20, 1990.

       42.     Attached hereto as Exhibit 41 is a true and correct copy of a Certificate of

Registration of a Claim to Copyright for Amazing Spider-Man Vol. 1, No. 1 dated December 19,

1962 and a Certificate of Renewal Registration for Amazing Spider-Man Vol. 1, No. 1 dated

November 20, 1990.

       43.     Attached hereto as Exhibit 42 is a true and correct copy of a Certificate of

Registration of a Claim to Copyright for Strange Tales Vol. 1, No. 110 dated April 18, 1963 and a

Certificate of Renewal Registration for Strange Tales Vol. 1, No. 110 dated December 27, 1991.

       44.     Attached hereto as Exhibit 43 is a coversheet in place of a Writers and Artists

Agreement signed by Eugene Colan dated March 22, 1975, which was designated “Confidential”

by Marvel and is being filed under seal.

       45.     Attached hereto as Exhibit 44 is a coversheet in place of an agreement signed by
                                                 6
Roy Thomas dated September 1, 1974, which was designated “Confidential” by Marvel and is

being filed under seal.

       46.     Attached hereto as Exhibit 45 is a coversheet in place of checks from Marvel

Comics Group made payable to Richard Ayers dated from February 1, 1974 to July 4, 1975, which

was designated “Confidential” by Marvel and is being filed under seal.

       47.     Attached hereto as Exhibit 46 is a true and correct copy of correspondence from

Charles R. Brainard to Michael E. Schultz dated October 4, 1967.

       48.     Attached hereto as Exhibit 47 is a true and correct copy of correspondence from

Lancer Books Inc. to Don Rico dated December 15, 1966.

       49.     Attached hereto as Exhibit 48 is a true and correct copy of a Certificate of

Registration of a Claim for Copyright and Certificate of Registration for Amazing Spider-Man

Annual Vol. 1, No. 1 dated August 31, 1964 and December 15, 1992, respectively.

       50.     Attached hereto as Exhibit 49 is a true and correct copy of excerpts (cover and page

1) of Strange Tales No. 110.

       51.     Attached hereto as Exhibit 50 is a true and correct copy of excerpts (pages

DETTWILER-0014, DETTWILER-0044-0058) of Donald L. Heck’s Account Book for Earnings.

       52.     Attached hereto as Exhibit 51 is a true and correct copy of a check from Marvel

Comics Group made payable to Stephen Gerber dated from June 1, 1973.

       53.     Attached hereto as Exhibit 52 is a true and correct copy of a Writers Agreement

between Marvel Comics Group and Stephen Gerber dated October 7, 1977.

       54.     Attached hereto as Exhibit 53 is a true and correct copy of a Writers Agreement

between Marvel Comics Group and Roy Thomas dated August 27, 1976.

       55.     Attached hereto as Exhibit 54 is a true and correct copy of an agreement between

Marvel Comics Group and Roy Thomas dated March 7, 1977 and correspondence concerning the
                                          7
agreement dated February 24, 1978.

        56.     Attached hereto as Exhibit 55 is a true and correct copy of excerpts (pages 1-5, 62-

63) from the Transcript of Stan Lee’s March 13, 2013 Deposition.

        57.     Attached hereto as Exhibit 56 is a true and correct copy of excerpts (pages 71-75,

82-83, 89-92, 94-95) from the Transcript of Stan Lee’s March 14, 2013 Deposition.

        58.     Attached hereto as Exhibit 57 is a true and correct copy of undated correspondence

between David Currie and Steve Ditko.

        59.     Attached hereto as Exhibit 58 is a true and correct copy of correspondence between

David Currie and Steve Ditko dated June 19, 2016.

        60.     Attached hereto as Exhibit 59 is a true and correct copy of excerpts (pages 1-3, 61-

65) from the Transcript of Patrick Ditko’s February 14, 2023 Deposition.

        61.     Attached hereto as Exhibit 60 is a true and correct copy of the first Spider-Man

story published in Amazing Fantasy Vol. 1, No. 15.

        62.     Attached hereto as Exhibit 61 is a true and correct copy of Fifty-Six Hope Rd. Music

Ltd. v. UMG Recordings, Inc., 2010 U.S. Dist. LEXIS 94500 (S.D.N.Y. Sep. 10, 2010) which

appeared unavailable on Westlaw.

        63.     Attached hereto as Exhibit 62 is a true and correct copy of Marvel’s Complaint, Dkt.

1, filed in this case.

        64.     Attached hereto as Exhibit 63 is a true and correct copy of Counterclaimant’s

Answer & Counterclaim and Exhibit A thereto, Dkts. 24 and 24-1, respectively, filed in this case.

        65.     Attached hereto as Exhibit 64 is a true and correct copy of excerpts (cover page and

pages 238-247) of Nimmer on Copyright by Melville B. Nimmer, published in 1963.

        66.     Attached hereto as Exhibit 65 is a true ad correct copy of excerpts (cover and pages

8-9) of an interview of Flo Steinberg in 1984 published in Alter Ego No. 153.
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       67.     Attached hereto as Exhibit 66 are true and correct copies of Certificates and proof of

recordation of Counterclaimant’s Notices of Termination concerning Steve Ditko’s Dr. Strange and

Spider-Man stories at issue in this case.

       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct, and was executed on May 19, 2023, in Malibu, California.

                                             By:            /s/ Marc Toberoff
                                                              Marc Toberoff




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